539 U.S. 975
    Paul, United States Congressman, et al.v.Federal Election Commission et al.
    No. 02-1747.
    Supreme Court of United States.
    August 4, 2003.
    
      1
      Appeal from the D. C. D. C. [Probable jurisdiction noted, ante, p. 911.]
    
    
      2
      Motion for divided argument of plaintiffs in Nos. 02-1674, 02-1727, 02-1733, 02-1734, 02-1753, 02-1755, and 02-1756 granted, except that 60 minutes are allotted for argument on Title I and § 213 of the Bipartisan Campaign Reform Act of 2002, and 50 minutes are allotted on the remainder of the challenged provisions. Motion of Emily Echols et al. and Barret Austin O'Brock for divided argument granted limited to 10 minutes for plaintiffs. Motions for divided argument of plaintiffs in Nos. 02-1675, 02-1740, and 02-1747 denied. Motion of the Solicitor General for divided argument granted.
    
    